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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


MAXWELL GOODLUCK et al.,

           Plaintiffs,

               v.                         Case No. 21-cv-1530-APM

JOSEPH R. BIDEN, JR. et al.,

          Defendants.



JANAN VARGHESE JACOB et al.,

             Plaintiffs,

                 v.                       Case No. 21-cv-1874-APM

JOSEPH R. BIDEN, JR. et al.,

          Defendants.



SIARHEI FILAZAPOVICH et al.,

          Plaintiffs,

                v.                        Case No. 21-cv-943-APM

DEPARTMENT OF STATE et al.,

          Defendants.
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SALAM S. NORI KAMOONA et al.,

              Plaintiffs,

                   v.                          Case No. 21-cv-2228-APM

JOSEPH R. BIDEN, JR. et al.,

          Defendants.



HABIB KASSAIAN et al.,

          Plaintiffs,

             v.                                Case No. 21-cv-2033-APM

JOSEPH R. BIDEN, JR. et al.,

          Defendants.



ABROR DJURAEV, et al.,

          Plaintiffs,

                  v.                           Case No. 21-cv-2071-APM

DEPARTMENT OF STATE et al.,

          Defendants.


                                       ORDER

    The court orders the following with regard to further proceedings in this matter:

     A. Plaintiffs’ Consolidated Complaint shall be filed on or before October 4, 2021.

     B. Defendants shall file the Certified Administrative Record on or before October 11,

         2021.
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       C. Defendants’ consolidated motion for summary judgment shall be filed on or before

          November 19, 2021. The brief shall be limited to 65 pages.

       D. Plaintiffs’ consolidated opposition to Defendants’ motion for summary judgment

          and cross-motion for summary judgment shall be filed on or before December 19,

          2021. The brief shall be limited to 65 pages.

       E. Defendants’ consolidated reply brief and opposition to Plaintiffs’ cross-motion

          shall be filed on or before January 21, 2021. The brief shall be limited to 40 pages.

       F. Plaintiffs’ consolidated reply brief shall be filed on or before February 18, 2021.

          The brief shall be limited to 40 pages.

       G. The parties shall file the Joint Appendix, as required by Local Civil Rule 7(n)(l),

          on or before February 25, 2021.
                                                                       2021.09.21
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Dated: ________________                             ____________________________________
                                                    The Hon. Judge Amit P. Mehta
                                                    United States District Judge
